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Counsel for Acxiom LLC



                                    UNITED STATES BANKRUPTCY COURT
                                         DISTRICT OF NEW JERSEY


In re:                                                            ) Chapter 11
                                                                  )
BOWFLEX, INC., et al.                                             ) Case No. 24-12364-ABA
                                                                  )
                      Debtors 1                                   ) (Joint Administration)


                                           NOTICE OF APPEARANCE AND
                                         REQUEST FOR SERVICE OF NOTICE

           PLEASE TAKE NOTICE that Stan D. Smith and the law firm of Mitchell, Williams, Selig,

Gates & Woodyard, P.L.L.C., represent Acxiom LLC (“Acxiom”), as a party-in-interest herein.

           The undersigned attorney and law firm hereby enter their appearance pursuant to

Bankruptcy Rule 9010(a) and (b) and request copies of all notices and pleadings pursuant to

Bankruptcy Rules 2002(a), (b) and (f), and 3017(a). All such notices should be addressed as

follows:

                                                       Stan D. Smith
                                             MITCHELL, WILLIAMS, SELIG,
                                             GATES & WOODYARD, P.L.L.C.
                                            425 West Capitol Avenue, Suite 1800
                                             Little Rock, Arkansas 72201-3525
                                                      (501) 688-8830
                                                    ssmith@mwlaw.com



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  The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification number, are: BowFlex Inc.
(2667) and BowFlex New Jersey LLC (3679). The Debtors’ service address is 17750 S.E. 6th Way, Vancouver, Washington 98683.


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         PLEASE TAKE FURTHER NOTICE that, pursuant to § 9010 of the Bankruptcy Rules,

the foregoing demand includes not only the notices and papers referred to in the rules specified

above, but also includes, without limitation, notices of any application, complaint, demand,

hearing, motion, petition, pleading or request, whether formal or informal, written or oral, and

whether transmitted or conveyed by mail, delivery, telephone, telecopier or otherwise filed or

served with regard to the above case and the proceedings therein.

         This request is not intended to and does not constitute a waiver of personal or subject matter

jurisdiction or any rights whatsoever that Acxiom has under the Federal Rules of Bankruptcy

Procedure or Federal Rules of Civil Procedure, including, but not limited to, Federal Rule of

Bankruptcy Procedure 7004 or Federal Rule of Civil Procedure 4.

         Dated this 18th day of March 2024.

                                                       Respectfully submitted,

                                                       MITCHELL, WILLIAMS, SELIG,
                                                         GATES & WOODYARD, P.L.L.C.
                                                       425 West Capitol Avenue, Suite 1800
                                                       Little Rock, AR 72201-3525
                                                       (501) 688-8830
                                                       ssmith@mwlaw.com


                                                       By: /s/ Stan D. Smith
                                                           Stan D. Smith (Ark. Bar No. 90117)




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